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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


  TQ DELTA, LLC,

                        Plaintiff,

  v.
                                        Civil Action No.: 2:21-cv-00310-JRG
  COMMSCOPE HOLDING COMPANY,
  INC., COMMSCOPE, INC., ARRIS US
  HOLDINGS, INC., ARRIS SOLUTIONS,
  INC., ARRIS TECHNOLOGY, INC., and
  ARRIS ENTERPRISES, LLC,

                        Defendants.



       COMMSCOPE’S MOTION TO EXCLUDE PORTIONS OF THE EXPERT
         TESTIMONY OF JONATHAN PUTNAM AND TODOR COOKLEV
                 UNDER FED R. EVID. 702 AND DAUBERT
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                                   TABLE OF EXHIBITS
  Exhibit                                       Description
  Exhibit A   Excerpts of the Corrected Expert Report of Johnathan D. Putnam, including
              Exhibits and Schedules
  Exhibit B   Excerpts of the Opening Expert Report of Todor Cooklev, Ph.D.




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 I.     INTRODUCTION

        Pursuant to Federal Rule of Evidence 702, CommScope respectfully moves to exclude a

 so-called “knockout analysis” performed by two of TQ Delta’s experts, Jonathan Putnam, Ph.D.

 (damages expert) and Todor Cooklev, Ph.D. (technical expert). Their goal was to identify patents

 that create DSL value. But despite cloaking the “analysis” in search terms and math, it bears none

 of the requisite hallmarks of scientific procedure or reliability, and it should be excluded.

        To begin, Drs. Putnam and Cooklev applied broad DSL-related search terms in an effort to

 narrow all issued U.S. patents down to just those that are allegedly standard-essential for DSL

 technologies. That narrowing yielded 14,848 U.S. patents, which they then narrowed further by

 applying a set of 360 “knockout words” created by Dr. Cooklev—including technical words like

 “address,” “routing,” “switch,” and “voltage,” as well as random words like “hygiene,” “karaoke,”

 “kitchen,” and “sewing”—that he decided would never appear in a DSL standard-essential patent.

 If any of the “knockout words” appeared in a patent claim, the patent was afforded less weight and

 sampled less frequently in their sampling analysis than the other patents. What is missing,

 however, is a reasoned explanation as to how or why Dr. Cooklev selected the 360 “knockout

 words” from among the hundreds of thousands of words in the English language. The reason it’s

 not explained is there is no reason. There is no scientific foundation for his creation and application

 of the “knockout words,” much less any reliable basis for concluding that the words actually serve

 to identify patents that create DSL value. Yet Dr. Putnam then uses that very analysis as a core

 underpinning of his damages calculations.         See CommScope’s Motion to Exclude Expert

 Testimony of Jonathan Putnam, Ph.D. That Is Inconsistent With Legal Precedent (filed

 contemporaneously herewith). The experts’ knockout analysis deserves this Court’s gatekeeping

 function under Daubert, lest the jury be misled into believing that the methodology has reliable,

 scientific underpinnings. It does not.


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 II.    FACTUAL BACKGROUND

        On August 29, 2022, TQ Delta served an expert report by Dr. Cooklev regarding

 infringement of the Family 2, 3, 9A, and 9B Patents. On September 3, 2022, TQ Delta served a

 corrected expert report by Dr. Jonathan Putnam regarding damages. With the help of Dr. Cooklev,

 Dr. Putnam performs an analysis using a sampling method to calculate the purported number of

 essential patent families per DSL standard. Ex. A, Putnam Rpt. at ¶¶ 368–75.

        Dr. Putnam began by attempting to identify all U.S. patents that refer to DSL-related

 technology. Id. at 368–75. To do so, Dr. Putnam performed a keyword-search for text strings

 containing variations of the phrases “DSL” or “digital subscriber line” within the patents. Id. at p.

 187 n. 464. Dr. Putnam then identified a subset of these patents owned by patentees that had made

 a licensing commitment at the ITU, and he similarly compiled a list of patents that had been named

 specifically in an essentiality-disclosure statement at the ITU. Id. at ¶¶ 369-70. From this list,

 Dr. Putnam removed patents that expired before 1999, leaving “around 14,848 potentially-

 essential patents, within 11,166 patent families.” Id. at ¶ 370.

        Dr. Putnam then conducted a “patent sampling and technical analysis.” Using a list of 360

 “knockout” words identified by Dr. Cooklev as “unlikely” to be found in the claims of any essential

 DSL patent, Dr. Putnam narrowed the list of 14,848 patents to just those that, according to

 Dr. Putnam, an economist, are “the most relevant patents.” Id. at ¶ 371. Dr. Cooklev’s list of

 “knockout words” is Exhibit 11, Schedule D to Dr. Putnam’s report. See Ex. A, Putnam Rpt. at

 Ex. 11, Schedule D. Dr. Putnam then grouped all patents whose independent claims contained at

 least one of the knockout words for purposes of his sampling analysis in Bucket 3, and included

 patents from Bucket 3 at a significantly lower rate because of their deemed non-essentiality. Ex.

 A, Putnam Rpt. at 189 n.472. Claims without a knockout word were grouped separately, leaving

 two groups of patents. Dr. Putnam then further divided each group of patents into nine sub-


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 categories based on Derwent World Patents Index (“DWPI”) classifications that Dr. Cooklev

 recommended were “more or less likely to contain a DSL-essential patent.” Id. at ¶ 372. The

 resulting set comprised 1,100 patents spanning 826 patent families. Id. at ¶ 374. Dr. Cooklev then

 purportedly analyzed—one by one—the independent claims of each of the 1,100 patents in order

 to narrow the list to 33 essential patents across 25 patent families. Ex. A, Putnam Rpt. at Ex. 11;

 Ex. B, Cooklev Rpt. at ¶ 1362. Dr. Putnam then uses these patents to calculate the number of

 alleged patent families across all DSL standards, which he determines to be 71. Ex. A, Putnam

 Rpt. at ¶ 375.

 III.   LEGAL STANDARDS

        Federal Rule of Evidence 702 governs the admissibility of expert testimony. Under the

 rule, “[a] witness who is qualified as an expert by knowledge, skill, experience, training and

 education may testify in the form of an opinion or otherwise” if the following four conditions are

 met:

            (a) the expert’s scientific, technical, or other specialized knowledge
            will help the trier of fact to understand the evidence or to
            determine a fact in issue;

            (b) the testimony is based on sufficient facts or data;

            (c) the testimony is the product of reliable principles and methods; and

            (d) the expert has reliably applied the principles and methods to the
            facts of the case.

 “The inquiry envisioned by Rule 702 is . . . a flexible one,” but in Daubert, the Supreme Court

 held that the Rules also “assign to the trial judge the task of ensuring that an expert’s testimony

 both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow

 Pharms. Inc., 509 U.S. 579, 594, 597 (1993).




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        “The reliability prong [of Daubert] mandates that expert opinion ‘be grounded in the

 methods and procedures of science and . . . be more than unsupported speculation or subjective

 belief.’” Johnson v. Arkema, Inc., 685 F.3d 452, 459 (5th Cir. 2012) (quoting Curtis v. M & S

 Petroleum, Inc., 174 F.3d 661, 668 (5th Cir. 1999)). In assessing the “reliability” of an expert’s

 opinion, the trial court may consider a list of factors including “whether a theory or technique . . .

 can be (and has been) tested,” “whether the theory or technique has been subjected to peer review

 and publication,” “the known or potential rate of error,” “the existence and maintenance of

 standards,” and “general acceptance” of a theory in the “relevant scientific community.” Daubert,

 509 U.S. at 593-94. “The proponent need not prove to the judge that the expert’s testimony is

 correct, but she must prove by a preponderance of the evidence that the testimony is reliable.”

 Johnson, 685 F.3d at 459 (quoting Moore v. Ashland Chem., Inc., 151 F.3d 269, 276 (5th Cir.

 1998) (en banc)).

 IV.    ARGUMENT

        Drs. Putnam and Cooklev’s “knockout analysis” is not based on valid methodology or

 sufficient facts or data, rendering it flawed and unreliable. The Fifth Circuit has made clear that

 an expert’s opinion must “be grounded in the methods and procedures of science and . . . be more

 than supported by mere speculation or subjective belief.” Johnson, 685 F.3d at 459. But the

 knockout analysis performed here, including Dr. Cookev’s underlying decision that the

 “knockout” words are unlikely to appear in the claims of a DSL standard-essential patent, is

 speculative at best, and rests entirely on Dr. Cooklev’s own subjective belief—not any established

 methods or procedures of science. The analysis should thus be excluded.

         First, Dr. Cooklev does not explain how he generated the list of knockout terms used in

 Dr. Putnam’s standard-essential patent analysis. While Dr. Cooklev purports to have taken some

 of the terms from the DWPI classifications, he fails to sufficiently explain how these specific 360


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 “knockout” words, but not others, from the descriptions of DWPI classifications were chosen for

 his list. Nor does Dr. Putnam specifically tie any of the 360 keywords to the DWPI classifications.

 Ex. B, Cooklev Rpt. at ¶ 1340. Dr. Cooklev simply cherry-picked words out of the DWPI

 classifications to arrive at his list of “knockout” words. Without a clear road map explaining his

 processes, one is left only to guess why some words, but not others, are included on the list.

        Second, Dr. Cooklev’s questionable keyword list is then used to whittle down the list of

 potentially DSL standard-essential patents based on Dr. Cooklev’s unsupported belief and

 conclusory opinion that the knockout terms are less likely to appear in the claims of an essential

 DSL patent. Ex. B, Cooklev Rpt. at ¶ 1340. Dr. Cooklev does not provide any basis for his opinion

 that the terms are unlikely to appear in an essential patent. Rather, Dr. Cooklev simply assumes

 that the list of keywords can be used to determine whether a patent is unlikely to be standard

 essential. And even a comparison of the 360 “knockout words” to DSL standards demonstrates

 that Dr. Cooklev’s approach lacks the necessary precision and rigor. For example, each of the

 following terms appears in the ITU’s Recommendation G.993.1 (VDSL) of June 2004, but was

 nonetheless identified by Dr. Cooklev as a term that is unlikely to be related to a DSL standard-

 essential patent: address, addressed, broadcast, cell, compression, echo, ISDN, machine, node,

 passive, POTS, routing, solid, switch, switched, switches, vehicle, voice, and voltage. 1

 Dr. Cooklev’s exclusion of terms that actually appear in the standard illustrates the unreliability

 of this proposed methodology. Moreover, Dr. Cooklev’s “knockout terms” even encompass terms

 that appear in the claims of the Asserted Patents. For instance, the knockout terms “switch” and

 “switching” both appear in the claims of the 8,462,835 Patent. The fact that Dr. Cooklev’s



 1
  ITU’s Recommendation G.993.1 (VDSL) of June 2004, available at https://www.itu.int/rec/T-
 REC-G.993.1-200406-I/en.


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 “knockout words” would exclude the ’835 Patent from Dr. Putnam’s analysis illustrates the

 failings of the methodology.

        In sum, Dr. Cooklev’s list of “knockout” words rests entirely on his own subjective view

 as to keywords that might be unlikely to appear in the claims of a DSL standard-essential patent.

 Dr. Cooklev fails to explain the rationale or basis behind his methodology and opinions, rendering

 his “knockout” analysis conclusory and unreliable. When an expert offers unsupported and

 unreliable opinions, it is this Court’s role as a gatekeeper to exclude such opinions. See, e.g.,

 Hathaway v. Bazany, 507 F.3d 312, 318 (5th Cir. 2007) (upholding exclusion of expert testimony

 when the expert merely “relie[d] on a host of unsupported conjectures that falls far short of a

 methodology”); Genband US LLC v. Metaswitch Networks Corp., No. 2:14-cv-33-JRG-RSP, 2016

 U.S. Dist. LEXIS 196292, at *6 (E.D. Tex. Jan. 7, 2016) (holding that “conclusory opinions

 unsupported by ‘facts or data’ and based on no discernable ‘principles and methods’ are not

 admissible under Fed. R. Evid. 702”).

        Because of its unreliable nature and lack of any scientific underpinnings, this Court should

 exclude the knockout analysis and associated opinions by Drs. Cooklev and Putnam. The

 exclusion should specifically encompass Paragraphs 371–398, Figure 5, and Exhibit 11 (Schedule

 B & Schedule D) of the Putnam Report (Ex. A), and Paragraphs 1340–1342 of the Cooklev Report

 (Ex. B).

 V.     CONCLUSION

        For the foregoing reasons, CommScope respectfully requests that the Court strike

 Dr. Cooklev’s knockout analysis, and the corresponding analysis by Dr. Putnam (relying on

 Dr. Cooklev’s “knockout” analysis) and preclude both experts from presenting or relying on the

 analysis at trial. The exclusion should include Paragraphs 371–398, Figure 5, and Exhibit 11




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 (Schedule B & Schedule D) of the Putnam Report (Ex. A), and Paragraphs 1340–1342 of the

 Cooklev Report (Ex. B).

  Dated: December 14, 2022                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has been

 served on December 14, 2022, to all counsel of record via electronic mail.

                                                      /s/ Eric H. Findlay
                                                      Eric H. Findlay




                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule 7(i), I hereby certify that counsel for CommScope and TQ Delta

 participated in a lead and local meet and confer to discuss the issues presented in this motion on

 Tuesday, December 13, 2022. TQ Delta indicated it opposes this motion.

                                                      /s/ Eric H. Findlay
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